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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

 UNITED STATES OF AMERICA                )
                                         )
 v.                                      )         CASE NO. 1:21-CR-048
                                         )
 SAMMIE LEE SIAS                         )


Government’s Motions in Limine to Exclude Certain Defense Statements at
              Trial and Motion to Admit Evidence at Trial

      Now comes the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorneys, and files the following Motions in Limine. As set

forth below, the Government moves the Court to (1) limit statements Defendant may

attempt to introduce at trial and (2) admit evidence at trial.

                                 Motion to Exclude

      The Government anticipates that Defendant will seek to admit his statements

made to federal law enforcement during an interview on August 8, 2019. Those

statements are plainly hearsay under Federal Rule of Evidence 801 and should be

excluded under Federal Rule of Evidence 803. See also United States v. Cunningham,

194 F.3d 1186, 1199 (11th Cir. 1999) (a defendant cannot attempt to introduce an

exculpatory statement made at the time of his arrest without subjecting himself to

cross-examination…“the defense sought to place [the defendant's] remarks before the

jury without subjecting [him] to cross examination. This is precisely what is forbidden

by the hearsay rule.”)



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                                  Motion to Admit

      In 2019, the FBI began investigating Defendant Sammie Lee Sias and

Sandridge Community Association, Inc. for fraud and potential misuse of government

funds, including Special Purpose Local Option Sales Tax (“SPLOST”) funds. That

investigation spanned two years and encompassed a number of grand jury subpoenas,

witness interviews, and collection of other evidence. Mr. Sias has been charged with

destruction, alteration, or falsification of records in the course of that investigation

and with making a false statement or representation to a federal agent, also in the

course of that investigation. Accordingly, the Government must be able to present the

basic facts of that underlying investigation order to prove the elements of the crimes

with which Mr. Sias has been charged here.

      The facts of the underlying investigation are inextricably intertwined with

and/or necessary to prove the facts of the Government’s case-in-chief. For example,

on July 29, 2019 the Sandridge Community Association, of which Mr. Sias was then

President, was served with a grand jury subpoena ordering it to produce

documentation related to the association by August 6, 2019. On August 6, 2019, Mr.

Sias deleted a number of computer files responsive to the subpoena, including, for

example, files with names like “SPLOST.doc” and “SPLOSTI-IVConciseReport.pdf.”

If the Government cannot discuss the nature of SPLOST funds and the significance

of these kinds of files to the underlying investigation, it cannot prove the materiality

of the deleted files to the investigation or Mr. Sias’s knowledge of their materiality,

and thus cannot prove its case-in-chief.




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      By analogy, in a prosecution involving possession of a firearm by a convicted

felon, the Government must be allowed to prove that the defendant was, in fact, a

convicted felon. Such evidence is not more prejudicial than probative under Federal

Rule of Evidence 403 and is in fact necessary to the Government’s case-in chief. The

Government further submits that it does not intend to present every fact of the

underlying investigation, but only those necessary to explain the context for Mr.

Sias’s charges and to prove the elements of those crimes.

      WHEREFORE, the government requests that the Court exclude the foregoing

statements identified in its Motion to Exclude, as well as admit the evidence set forth

in its Motion to Admit.

      Respectfully submitted this 2nd day of July, 2022.

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                                        UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all parties in this case in

accordance with the notice of electronic filing (“NEF”), which was generated as a

result of electronic filing in this Court.

       This 2nd day of July, 2022.


                                             DAVID H. ESTES
                                             UNITED STATES ATTORNEY

                                             s/ Patricia G. Rhodes
                                             Patricia G. Rhodes




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